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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT of CALIFORNIA

                                  CRIMINAL MINUTES

 Judge:            Jon S. Tigar                        Time in Court:     20 minutes
 Date:             November 7, 2024
 Case No.:         4:20-cr-00266-JST-1

 United States of America            v.       Michael Brent Rothenberg

                                            Defendant
                                           Present
                                           Not Present
                                           In Custody

 Nicholas Walsh;                                       Hanni Fakhoury; Nate Torres
 Benjamin Kleinman
                                                       James Thomson, Advisory
 U.S. Attorney                                         Defense Counsel

 U.S. Probation    Ashley Polk
                                                       Court Reporter: Raynee Mercado
 Courtroom Deputy Clerk: Dianna Shoblo                 via zoom


                                     PROCEEDINGS

Status Conference – Held.

                                  RESULT OF HEARING


   1. Hearing was conducted over Zoom with all parties’ consent.
   2. The Court grants Hanni Fakhoury’s motion to withdraw as attorney ECF No. 426. The
      Court finds that there has been an irreconcilable breakdown in the attorney-client
      relationship. The Court refers this matter to the CJA Panel for the appointment of new
      counsel for the Defendant.
   3. The Court relieves James Thomson as advisory counsel in this case.
   4. Further Status Conference set for 01/17/2025 at 9:30 AM in Oakland, Courtroom 6, 2nd
      floor.
   5. The Case Management Conference, Sentencing, and Motion Hearing date of 11/08/2024
      is vacated.

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